Case 3:19-cv-01547-M-BH             Document 59         Filed 01/21/22         Page 1 of 7        PageID 1138



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 DAVID LYMAN SPALDING,                                  )
      ID # 47371-177,                                   )
             Movant,                                    )
                                                        )
 vs.                                                    )        No. 3:19-CV-1547-M-BH
                                                        )
 ADMINISTRATIVE OFFICE OF THE                           )
 COURTS, et al.,                                        )
             Respondents.                               )        Referred to U.S. Magistrate Judge1

                   FINDINGS, CONCLUSIONS, AND RECOMMENDATION

         Before the Court is a filing entitled, Preservation of Errors Under the Federal Rules of

 Criminal Procedures – 51(b) and 52(b), received on January 11, 2022 (doc. 57). Based on the

 relevant filings and applicable law, it should be construed as a motion seeking relief from judgment

 under Federal Rule of Civil Procedure 60(b) and DENIED.

                                           I.       BACKGROUND

         On June 25, 2019, David Lyman Spalding (Movant), an inmate in the federal prison

 system, filed a petition for a writ of audita querela seeking relief based on alleged misconduct and

 errors during the appeal of his criminal conviction in Case No. 3:13-CR-422-M(1). (See doc. 2.)

 He later submitted a 161-page supplemental filing which appeared to include new claims against

 new parties relating to the proceedings in his underlying criminal case. (See doc. 14.) On

 September 17, 2021, it was recommended that his petition for a writ of audita querela and the 161-

 page supplemental filing be dismissed for lack of jurisdiction. (See doc. 43.) The recommendation

 was accepted, the petition for a writ of audita querela was dismissed for lack of jurisdiction, and



 1
   By Special Order No. 3-251, this case has been referred for findings, conclusions, and recommendation. It was
 transferred to a different U.S. Magistrate Judge on July 31, 2019. (See doc. 7.)
Case 3:19-cv-01547-M-BH         Document 59        Filed 01/21/22       Page 2 of 7       PageID 1139



 judgment was entered on November 12, 2021. (See docs. 50, 51.)

        Movant now alleges seven “claims of errors”:

        (1) Jurisdiction of the District Court to adopt the findings from the Magistrate Court
            ‘re-affirming’ the said ‘dismissal’ of the Writ of Audita Querela from Dec. 23,
            2019;

        (2) Authority of the District Court to issue a ‘report & recommendation’ (R&R) in
            the above mentioned [sic] case, that was 23 months late;

        (3) Jurisdiction of the District Court so establishing ‘dual jurisdiction’ with Fifth
            Circuit Court of Appeals with a properly filed Notice of Appeal in Feb. 2020;

        (4) A clear explanation of the de novo process of the Magistrate Court’s rulings of
            July 1; July 23 and Aug. 9, 2021 – with specific determination of the findings
            and the said objections by the petitioner;

        (5) Jurisdiction of the Magistrate Court which was objected to in writing to this
            Court;

        (6) A clear explanation of the District Court’s lack of review of the Magistrate
            Courts [sic] said devoid response and/or ruling on the authority – both statutory
            and Constitutional of the Fifth Circuit Court of Appeals – Lyle Cayce – the
            Chief Clerk concerning his April 20, 2021 DISMISSAL of the entire appellate
            case #20-10160, both factual and legal questions of law and appellate
            procedures; and

        (7) . . . The District Court need’s [sic] to carefully explain WHY the Magistrate
            Court so ‘re-classified’ the Writ of Audita Querela to a ‘civil case’ in Dec. 2019
            – and WHY the Magistrate Court so demanded that a ‘5th Circuit Court filing
            fee’ was due, wherein, in the United States v. Cornett, the 5th Circuit stated that
            the petitioner’s ‘IFP status’ was not necessary, and so denied. The actions by
            the Magistrate Court is ‘fraud upon the Court and the petitioner’ so committed
            by an Article I Judge.

 (doc. 57 at 2-3.) He also requests an evidentiary hearing. (See id. at 2.)

                                     II.    FED. R. CIV. P. 60(B)

        Movant challenges the Court’s jurisdiction in these proceedings and the dismissal of this

 action, and he seeks explanation for various orders and determinations in the case. He therefore

 appears to seek relief from the judgment in this action. “A motion asking the court to reconsider



                                                  2
Case 3:19-cv-01547-M-BH         Document 59        Filed 01/21/22      Page 3 of 7      PageID 1140



 a prior ruling is evaluated either as a motion to ‘alter or amend a judgment’ under Rule 59(e) or as

 a motion for ‘relief from a final judgment, order, or proceeding’ under Rule 60(b),” depending on

 “when the motion was filed.” Demahy v. Schwarz Pharma, Inc., 702 F.3d 177, 182 n.2 (5th Cir.

 2012); see also Williams v. Thaler, 602 F.3d 291, 303 (5th Cir. 2010) (“When a litigant files a

 motion seeking a change in judgment, courts typically determine the appropriate motion based on

 whether the litigant filed the motion within Rule 59(e)’s time limit.”), abrogated on other grounds

 by Thomas v. Lumpkin, 995 F.3d 432, 440 (5th Cir. 2021). Because Movant’s filing was dated and

 received almost two months after entry of judgment, it is properly construed as arising under

 Federal Rule of Civil Procedure 60(b). See Fed. R. Civ. P. 59(e) (requiring motion to be filed

 within 28 days of entry of judgment).

        Rule 60(b) provides that a court may relieve a party from a final judgment or order for the

 following reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered

 evidence that, with reasonable diligence, could not have been discovered earlier; (3) fraud,

 misrepresentation, or misconduct by an opposing party; (4) the judgment is void; (5) the judgment

 has been satisfied, released, or discharged, or it is based on an earlier judgment that has been

 reversed or vacated, or applying the judgment prospectively is no longer equitable; or (6) any other

 reason that justifies relief. Fed. R. Civ. P. 60(b)(1)-(6). A Rule 60(b) motion must be made within

 a reasonable time and, for reasons (1), (2), and (3), no longer than one year after judgment was

 entered. See Fed. R. Civ. P. 60(c)(1).

        Because Movant’s motion does not invoke any of the reasons for relief from judgment

 under the first five paragraphs of Rule 60(b), it is considered under paragraph (6), which is the

 “catch-all” clause. See Hess v. Cockrell, 281 F.3d 212, 215-16 (5th Cir. 2002). This paragraph is

 “‘a residual clause used to cover unforeseen contingencies; that is, it is a means for accomplishing



                                                  3
Case 3:19-cv-01547-M-BH          Document 59        Filed 01/21/22       Page 4 of 7       PageID 1141



 justice in exceptional circumstances.’” Steverson v. GlobalSantaFe Corp., 508 F.3d 300, 303 (5th

 Cir. 2007) (quoting Stipelcovich v. Sand Dollar Marine, Inc., 805 F.2d 599, 604-05 (5th Cir.

 1986)). Motions under this clause “will be granted only if extraordinary circumstances are

 present.” Hess, 281 F.3d at 216 (citation and internal quotation marks omitted). In Seven Elves,

 Inc. v. Eskenazi, 635 F.2d 396 (5th Cir. 1981), the Fifth Circuit set forth the following factors to

 be considered when evaluating such a motion: (1) that final judgments should not lightly be

 disturbed; (2) that a Rule 60(b) motion should not be used as a substitute for appeal; (3) that the

 rule should be liberally construed in order to achieve substantial justice; (4) whether the motion

 was made within a reasonable time; (5) whether, if the case was not decided on its merits due to a

 default or dismissal, the interest in deciding the case on its merits outweighs the interest in the

 finality of the judgment and there is merit in the claim or defense; (6) whether, if the judgment

 was rendered on the merits, the movant had a fair opportunity to present his claims; (7) whether

 there are intervening equities that would make it inequitable to grant relief; and (8) any other

 factors relevant to the justice of the judgment under attack. Id. at 402.

        Here, Movant claims errors in the proceedings and judgment in this case based on alleged

 lack of jurisdiction or authority. (See doc. 57 at 2.) He appears to challenge the Court’s jurisdiction

 to accept the September 17, 2021 recommendation “‘re-affirming’ the said ‘dismissal’ of the Writ

 of Audita Querela from Dec. 23, 2019,” and its authority to “issue a ‘report and recommendation’

 (R&R) in the above mentioned [sic] case, that was 23 months late.” (Id.) He also appears to

 challenge the Court’s “‘dual jurisdiction’ with the Fifth Circuit Court of Appeals with a properly

 filed Notice of Appeal in Feb. 2020.” (Id.)

        As noted in the September 17, 2021 recommendation, on October 11, 2019, Movant was

 denied leave to exceed the briefing page limitations in the local rules, and he was ordered to file



                                                   4
Case 3:19-cv-01547-M-BH          Document 59         Filed 01/21/22       Page 5 of 7       PageID 1142



 an amended petition and supporting brief that complied with the page limitations within 30 days

 of receiving the order. (See doc. 11.) He then submitted a non-compliant 161-page filing on

 December 18, 2019, that appeared to include new claims against new parties. (See doc. 14.) In

 that filing, he again requested leave to exceed the page limitations. (See id. at 5-6.) His request to

 exceed the page limitations was denied on December 23, 2019, and he was ordered to file one final

 request for relief setting forth all the claims he sought to raise, and a brief in support of his filing

 that complied with the page limitations in the local rules. (See doc. 18.) He did not timely file a

 compliant final request for relief as ordered, and instead filed an appeal to the Fifth Circuit in

 February 2020. (See doc. 26.) The appeal was dismissed on April 20, 2021. (See doc. 35.) After

 Movant’s appeal was dismissed, and because he failed to file a compliant final request for relief

 as ordered prior to his appeal, the claims he presented in the original, non-compliant petition for a

 writ of audita querela, supplemented by his non-compliant 161-page filing, were considered in

 the September 17, 2021 recommendation. (See doc. 43 at 2-8.) The recommendation was accepted

 by order dated November 12, 2021. (See doc. 50.) Movant’s allegations regarding the Court’s

 jurisdiction to enter judgment in this case based on his February 2020 notice of appeal lack merit.

        Movant also challenges the “[j]urisdiction of the Magistrate Court which was objected to

 in writing to this Court.” (doc. 57 at 2.) To the extent he is referring to his Non-Consent to the

 Exercise of Jurisdiction By a Magistrate Judge- Per the Magistrate Act of 1979 and Per 28 U.S.C.

 § 636(b), received on December 18, 2019, he was advised by order dated December 23, 2019, that

 a district judge is statutorily authorized to designate a magistrate judge to determine pretrial

 matters and to conduct hearings and submit findings of fact and recommendation on dispositive

 matters by 28 U.S.C. 28 U.S.C. § 636(b)(a). (See doc. 20.) The order further explained that under

 that express authority, the Northern District of Texas has implemented Special Order 3-251, which



                                                    5
Case 3:19-cv-01547-M-BH          Document 59         Filed 01/21/22       Page 6 of 7       PageID 1143



 provides for automatic referral of certain cases and matters to magistrate judges, and that this case

 fell under those automatic referral provisions. (See id.) Because the district court retained the

 ultimate decision-making authority for this case, his consent to the referral was not required. (See

 id. (citing Nixon v. GMAC Mortg. Corp., 408 F. App’x 833, 834 (5th Cir. 2011)). His allegations

 on this issue have previously been addressed.

        Movant also requests explanations for various rulings and determinations in this action.

 (See doc. 57 at 2-3.) Although he expresses disagreement and dissatisfaction with the orders

 entered in this case, and offers conclusory allegations challenging the Court’s jurisdiction, he has

 failed to come forward with new, relevant facts, evidence, or persuasive legal precedent showing

 that his petition for a writ of audita querela is not subject to dismissal for the reasons stated in the

 recommendation.

        Because Movant has failed to demonstrate exceptional circumstances warranting relief

 under Rule 60(b)(6) based on any of the grounds asserted in his motion, it should be denied.

                                     III.    RECOMMENDATION

        The Preservation of Errors Under the Federal Rules of Criminal Procedures – 51(b) and

 52(b), received on January 11, 2022 (doc. 57), should be construed as a motion for relief from

 judgment under Federal Rule of Civil Procedure 60(b) and DENIED.

        SIGNED this 21st day of January, 2022.




                                                    6
Case 3:19-cv-01547-M-BH         Document 59        Filed 01/21/22      Page 7 of 7      PageID 1144



                            INSTRUCTIONS FOR SERVICE AND
                          NOTICE OF RIGHT TO APPEAL/OBJECT

         A copy of these findings, conclusions, and recommendation shall be served on all parties
 in the manner provided by law. Any party who objects to any part of these findings, conclusions,
 and recommendation must file specific written objections within 14 days after being served with
 a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be specific, an objection
 must identify the specific finding or recommendation to which objection is made, state the basis
 for the objection, and specify the place in the magistrate judge’s findings, conclusions, and
 recommendation where the disputed determination is found. An objection that merely incorporates
 by reference or refers to the briefing before the magistrate judge is not specific. Failure to file
 specific written objections will bar the aggrieved party from appealing the factual findings and
 legal conclusions of the magistrate judge that are accepted or adopted by the district court, except
 upon grounds of plain error. See Douglass v. United Servs. Automobile Ass’n, 79 F.3d 1415, 1417
 (5th Cir. 1996).




                                                  7
